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     ~AO 245B (CASD) (Rev. 4/14)   Judgment in a Criminal Case
               Sheet 1




                                              UNITED STATES DISTRICT COURT                                              J?
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                         Kelwin Josue Nunez-Mejia -3                               Case Number: 14-cr-OI479-JAH-3

                                                                                   Mayra L Garcia
                                                                                   Defendant's Attorney
     REGISTRATION NO. 41741298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) ....:T....:hr::.e.:..e.:..o.:..f.:..t_h..:.e_In_d_i..:.ctm_e_n_t_._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                         Nature of Offense                                                                             Number(sl
8 USC 1326                            Removed Alien Found in the United States                                                             3




        The defendant is sentenced as provided in pages 2 through  2    of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 D    count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is DareD dismissed on the motion ofthe United States.
 181 Assessment: $100.00 waived.

 181 No fine                                        D    Forfeiture pursuant to order filed
                                                                                                 --------- , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                           I 4-cr-O I 479-JAH-3
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AD 245B (CASD) (Rev. 4/14)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment
                                                                                            Judgment - Page _   ....2 _ of    2
 DEFENDANT: Kelwin Josue Nunez-Mejia -3
 CASE NUMBER: 14-t:r-01479-JAH-3
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Ninety days.



    o Sentence imposed pursuant to Title 8 USC Section I 326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.    Op.m.    on
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before
                   ---------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                          UNITED STATES MARSHAL

                                                                     By
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                  14-cr-01479-JAH-3
